Case 2:04-cr-20390-.]DB Document 90 Filed 07/14/05 Page 1 of 2 Page|D 99

UNITED STATES D|STR|CT COURT

WESTERN D|STR|CT TENNESSEE
THOMAS M. GOULD MEMPHIS (90:) 495-1200
CLERK OF COURT FAX (901) 495-1250
JACKSON (731) 421-9200
FAX(?31)42L92:0
DATE: July 14, 2005

NOTICE TO ALL PARTIES

 

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RE: CRIMINAL CASE NO. 04-20390-B
UNITED STATES OF AMERICA vS. RICK L. WOOD

__ RULE 20 (Consent to Trans£er of Case for Plea and
Sentence)

XX_ RULE 40 DOCUMENTS (Rule 5.1 Proceedings)

Documents,
from the US
Please refe

as to the above-named defendant, have been received

DC, Eastern District of Arkansas, on July 14, 2005.
r to document #89 in the case record.

Sincerely,

THOMAS M. GOULD
Clerk of Court

T
BY:
Deputy' Clerk
cc: Mag. Judge Casemgr.
242FEDERALBUHJMNG zozFEDERALBunlnNG
167 N. MA]N STREET
MEMPHIS, TENNESSEE 33103

ll] S. HIGHLAND
JACKSON, TENNESSEE 3830|

    
 

 
   
 

UNITED sTEATs DSTIRIC COURT - WEERSTN DISTRICT TNNESSEE

 

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This notice confirms a copy of the document docketed as number 90 in
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July ]4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

